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                    IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,
                    Plaintiffs,                                4:14CR3085
      vs.
                                                    MEMORANDUM AND ORDER
TROY C. CHUBBUCK, JERRY S.
WOLFE, WILLIAM E. SALISBURY,
LISA J. SCHUTTE, and GARY A. GOFF,
                    Defendants.


      Defendants Gary A. Goff and Lisa J. Schutte have moved to continue the pretrial
motion deadline, (filing nos. 46 and 47), because the defendants and defense counsel
need additional time to fully review the discovery received before deciding if pretrial
motions should be filed.. The motions to continue are unopposed. Based on the showing
set forth in the motions, the court finds the motion should be granted. Accordingly,

      IT IS ORDERED:

      1)     Defendants Gary A. Goff and Lisa J. Schutte’s motions to continue, (filing
             nos. 46 and 47), are granted.

      2)     As to all defendants, pretrial motions and briefs shall be filed on or before
             September 11, 2014.

      3)     As to all defendants, trial of this case is continued pending resolution of
             any pretrial motions filed.

      4)     The ends of justice served by granting the motion to continue outweigh the
             interests of the public and the defendants in a speedy trial. Accordingly, as
             to all defendants, the additional time arising as a result of the granting of
             the motion, the time between today’s date and September 11, 2014, shall be
             deemed excludable time in any computation of time under the requirements
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         of the Speedy Trial Act, because despite counsel’s due diligence, additional
         time is needed to adequately prepare this case for trial and failing to grant
         additional time might result in a miscarriage of justice.      18 U.S.C. §
         3161(h)(1), (h)(6) & (h)(7).

   August 12, 2014.

                                            BY THE COURT:
                                            s/ Cheryl R. Zwart
                                            United States Magistrate Judge




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